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April 16, 2018

Honorable Judge Christopher S. Sontchi

U.S. Bankruptcy Court for the District of Delaware
824 i\/larket Street North, 3rd Floor

Wilmington, DE 19801

Office of The U.S Trustee

Attn: Richard L. Schepacarter, Trial Attorney at Department of Justice
844 King Street, Suite 2207

Wilmington, DE 19801

RE: Case #18-10814- EV Energy Partners, L.P. (EVEP) Chapter 11 Petition
Dear Honorab|e Judge Sontchi and l\/lr. Schepacarter, Esq.,

l am an individual investor in EVEP common units. | have lost about $189,0000.00 to date with
EVEP, which l was saving for retirement. l believe l have been deliberately deceived by EVEP
management and that they have acted in bad faith in filing Chapter 11. As an investor l relied on
Delottie's Audited Dec. 31, 2016 financial statements, my reliance was based on the fact that
they are a large reputable accounting firm, l believe their role is to act as a” financial detective"
to protect the common unit holders. The Dec. 31, 2016 financials showed no existence of a cross
covenant between the bank and the senior notes. Around November 2017 when | contacted
EVEP investor relations, l spoke to a lady and l specifically asked her about both the bank
covenants and the bond debt maturity. She told me that EVEF was first dealing with bank
covenant compliance in March of 2018 and than they had another year to work on the Bonds
that were maturing in April 2019. When l hung up the phone with her, l had no idea that the
bonds due in ;\pril of 2019 could be accelerated or that a cross covenant existe¢_i_. The cross
covenant was a critical piece of information for me as an investor to know because without the
bond acceleration l do not believe that EVEP could have orchestrated this Chapter 11 petition.

| just came across a very upsetting press release (Exhibit A) dated l\/larch 20, 2018. Enervest has
announced a sale of its asset positions FOR WHOPP|NG $2.66 BlLL|ON in Eagle Ford and Austin
Chalk which is scheduled to be closed in the second quarter of 2018. EVEP disclosed that it has
a 5.8% working interest in the properties in Eagle Ford, which would amount to approximately
$133 million and an undisclosed amount in Austin Chalk. WHERE |S THE PRESI_ENT COMMON
UN|T HOLDER'S MONEY (THE TRUE OWNERS)?? l understand that the prepackage restructuring
(bankruptcv) plan that EVEP has presented for court approval is being attempted to be rush
through bv EVEP management within 60 davs, before the close of this sa_le; l feel this is an
underhanded strategic tactic by EVEP management to close after bankruptcy so the PRESENT
common unit holders (the true owners) would be denied this money. Furthermore, why couldn't
proceeds attributable to EVEP from this sale by Enervest be used to recalculate the covenant

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compliance in order to demonstrate to the court that they are in compliance with the bank which
would then mean that that the the Chapter 11 petition is not valid as opposed to diluting the
common unit holders from (100% to 5%) and to make matters worse common unit holders could
face a substantial amount of COD| as ordinary income.

Coincidently (or conveniently) EVEP filed their restructuring plan during tax season, when
accountants, and their clients are buried in paperwork and it’s a challenge for investors to get
help and understand the restructuring plan and how CODl will affect them. | believe that EVEP
management has a huge incentive to undervalue the assets, to furtherjustify the bankruptcy and
unjustly enrich management and the bondholders at the common unit holders expense (the true
owners) in a post restructured company. l understand there is typically an 18-month period of
time in a bankruptcy for the purpose of restructuring a company. However, l believe EVEP
management has an ulterior motive to ”ram" the bankruptcy through the court with a
prepackaged plan so the both the court and the common unit holders do not have adequate time
to scrutinize and determine the fair value of EVEP assets, | strongly believe the common unit
holders (the true owners) can prove to the court that EVEP is not insolvent and that we can
submit a plan to the bankruptcy court to preserve much greater value for the existing common
unit holders (the true owners) than the ”pennies on the dollar plan” that EVEP has proposed.

Under the EVEP prepackaged restructuring plan the potential COD| income to investors can be a
"financial nightmare". The lower the asset value the higher the potential COD| for the common
unit holders. As as common unit holder l feel that EVEP is "throwing us under the bus”, but with
COD| l feel like EVEP is shifting the “bus in reverse and running over us a second time”.

Therefore, l respectfully object to EVEP's organizational plan and request that you appoint a Case
Trustee or Examiner to perform an independent investigation, along with granting the common
unit holders an equity committee. Please read some of my further reasons as follows:

-The other clay l was reading my electronic WSJ and just came across, what l consider a disturbing
article on Enervest (Exhibit B) .

-i am merely a layperson but l can clearly see that the $1.5 Billion of assets in the balance sheet
of EVEP is based on a very conservative figure, as this figure reflects depreciation and write down
of impairments at a time when commodity prices were low. Now that commodity prices are up,
there is no corresponding ”write up". Therefore, the book value is not reflective of what these
assets are worth in today's market. There is a boom in buying energy assets, Exxon has
committed to buying 50 billion in the Permian Basin. As an example Breitburn has received
multiple offers for their assets through their bankruptcy. Concho just bought RSPP at over 2 x
their book value (Exhibit C). lf you calculate EVEP on their book value, after paying bank debt
and bonds, then almost $13 per common unit would be remaining to the common unit holders
(the true owners) or the company would most likely bring in far in excessive of its book value if it
were sold.

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lt also appears that EVEP can shed assets to emerge out of bankruptcy and give shareholder's far
more than pennies on the dollar (5%). For examp|e, there are 3,374 potential drilling sites that
are located in Barnett Shale and Appalachian Basin. Q_Nl_i WOULD TH|NK THAT SOIV\EONE
WOULD PAY SOMETH|NG FOR 3,374 POTENT|AL DR|LL|NG SITE_S_?

l understand that determining a proper value of the assets of an i\/iLP like EVEP is very
complicated as there are many variables which can be subject to manipulations. it is obvious to
even a layman as myself that one has to look at the credibility of the corporate governance and
carefully scrutinize the valuations. Furthermore, l understand EVEP management has hired a
small army of top “iegai eagles" and "financial advisors", therefore l believe this speaks volumes
to the complexity of the EVEP bankruptcy.

During my research, l found it quite astounding that EVEP in 2015 had a related party acquisition
of $259 million with Enervest in which apparently Not Even One independent valuation was done
for this acquisition. Within a couple of months of the acquisition EVEP wrote off $65.9 million in
goodwill. One has to seriously wonder if there are any other transactions like this which appear
to not be an ”arms length".

After further research i noticed that EVEP sold some assets in the last quarter of 2016 for $52.1
million and turned right around and purchased $58.7 million in assets in lanuary of 2017 while
incurring an additional $6.6 million in debt. Normally l don’t question managements decision on
purchasing or selling assets. However management had the opportunity to pay down their debt
but choose not to. instead l believe they put the company in jeopardy for the common unit
holders (the true owners) and did not fulfill their fiduciary duty in protecting the common unit
holders (the true owners).

Last Fall when | glanced at the November 9, 2017 earnings transcripts EVEP management was
saying positive things about their future, increasing production and spending money on drilling
weiis. However l came to find out that during this time EVEP was ”piotting" behind the common
unit holder’s (the true owners) back in in discussions with the debtors and advisors to enter into
a restructuring pian. So why was EVEP management spending money again instead of paying
down the debt to comply with bank covenants??

in conclusion l believe compelling evidence shows that EVEP corporate governance is "bad to the
bone" regarding its conduct towards its common unit holders (the true owners) and that there
were conflicts of interest on transactions between Enervest and EVEP that were to the benefit of
Enervest. Furthermore, i understand EVEP has spent a "Boat Load" of the common unit holder’s
money (more like a "Cruise Ship ”of money) to craft a bankruptcy restructuring plan that ”low
balls" the value of the company and eviscerates the value of equity giving common unit holders
(the true owners) just pennies on the dollar. Therefore, PLEASE GiLZ US A ”RESCUE BOAT OF
MONEY", for an equity committee so common unit holder’s (the true owners) can be
represented in this bankruptcy.

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i plan on attending the iVlay 15, 2018 court hearing. Thank you.

Respectfully you rs,

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